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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

A.E.S.E., a minor child, and EUSEBIO
DANIEL SABILLON PAZ, her father,

        Plaintiffs,

v.                                                              Civ. No. 21-569 RB/GBW

THE UNITED STATES OF AMERICA
and MANAGEMENT & TRAINING
CORPORATION,

        Defendants.

                   ORDER DENYING MOTION TO QUASH AS MOOT

        THIS MATTER comes before the Court on Movant’s Motion to Quash Subpoena

and Motion for Protective Order (“the Motion”). Doc. 113. On May 30, 2023, the El Paso

County Clerk’s Office (“the Movant”) moved to quash Plaintiffs’ Subpoena Duces

Tecum and for a protective order. Id. at 1. On June 13, 2023, Plaintiffs notified the

Court that the subpoena at issue in the Motion has been withdrawn by Plaintiffs. Doc.

116. IT IS THEREFORE ORDERED that the El Paso County Clerk’s Office’s Motion to

Quash Subpoena and Motion for Protective Order (doc. 113) is DENIED AS MOOT.1

        IT IS SO ORDERED.



                                        ________________________________
                                        GREGORY B. WORMUTH
                                        CHIEF UNITED STATES MAGISTRATE JUDGE

1If there are matters beyond the withdrawn subpoena for which Movant still seeks a protective order, it
may file a renewed motion seeking such relief.
